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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                                                *
Wesley Daniel Viney                             *
                               Plaintiff(s)     *
                                                *
                         vs.                    *   Civil Case No.: 1:22−cv−00041−LKG
                                                *
Craig Roberson, et al.                          *
                               Defendant(s)     *


                                              NOTICE


The defendant(s), Craig Roberson and Daniel Lasher, has/have filed a motion to dismiss or
for summary judgment. If this motion is granted, it could result in the dismissal of your
case or the entry of judgment against you.
You have the right to file a response to this motion within twenty−eight (28) days
from the date of this notice, unless otherwise ordered by the presiding judge. Your
response should address the facts and arguments made by defendant(s) in their motion, but
please note that Local Rule 105.3 limits the length of a memorandum to 35 pages,
excluding attachments such as affidavits and exhibits. Your response should include
affidavits (statements made under oath); declarations (statements made subject to the
penalty of perjury under 28 U.S.C. § 1746); or other materials that contest the affidavits,
declarations, or records filed by the defendant(s), which are needed to show the Court that
a genuine issue of material fact remains to be determined and the case should proceed to
trial or evidentiary hearing. If you cite to materials in support of your complaint that have
NOT been filed with the Court already, you MUST attach them to your opposition. You
may cite to any other materials filed by defendant(s) or submitted with your complaint
without filing an additional copy.
If you do not file a timely written response, or if your response is inadequate, the
Court may dismiss the case or enter judgment against you without further
opportunity to present written argument. If you file no written response, the Court
will resolve the case based on the materials submitted by defendant(s). For your
reference, a copy of excerpts of Federal Civil Rules 12 and 56, which govern a motion to
dismiss or summary judgment, are attached to this notice.

                                                          CATHERINE M. STAVLAS, CLERK
Dated:        October 3, 2022                       By:           K. Owens
                                                          Deputy Clerk


cc: Opposing Counsel
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               EXCERPTS OF FEDERAL RULES OF CIVIL PROCEDURE
                   Rule 12 and Rule 56 (effective December 1, 2010)


Rule 12. Defenses and Objections: When and How Presented; Motion for Judgment on the
Pleadings; Consolidating Motions, Waiving Defenses; Pretrial Hearing

    (a) Time to Serve a Responsive Pleading. [OMITTED, but explained in attached Notice]

    (b) How to Present Defenses. Every defense to a claim for relief in any pleading must be
        asserted in the responsive pleading if one is required. But a party may assert the
        following defenses by motion:
        (1) lack of subject−matter jurisdiction;
        (2) lack of personal jurisdiction;
        (3) improper venue;
        (4) insufficient process;
        (5) insufficient service of process;
        (6) failure to state a claim upon which relief can be granted; and
        (7) failure to join a party under Rule 19.

          A motion asserting any of these defenses must be made before pleading if a responsive
          pleading is allowed. If a pleading sets out a claim for relief that does not require a
          responsive pleading, an opposing party may assert at trial any defense to that claim. No
          defense or objection is waived by joining it with one or more other defenses or
          objections in a responsive pleading or in a motion.

    (c)   Motion for Judgment on the Pleadings. After the pleadings are closed−−but early
          enough not to delay trial−−a party may move for judgment on the pleadings.

    (d) Result of Presenting Matters Outside the Pleadings. If, on a motion under Rule
        12(b)(6) or 12(c), matters outside the pleadings are presented to and not excluded by
        the court, the motion must be treated as one for summary judgment under Rule 56. All
        parties must be given a reasonable opportunity to present all the material that is
        pertinent to the motion.

    (e)   Motion for a More Definite Statement. A party may move for a more definite
          statement of a pleading to which a responsive pleading is allowed but which is so
          vague or ambiguous that the party cannot reasonably prepare a response. The motion
          must be made before filing a responsive pleading and must point out the defects
          complained of and the details desired. If the court orders a more definite statement and
          the order is not obeyed within 14 days after notice of the order or within the time the
          court sets, the court may strike the pleading or issue any other appropriate order.

    (f)   Motion to Strike. The court may strike from a pleading an insufficient defense or any
          redundant, immaterial, impertinent, or scandalous matter. The court may act:
          (1) on its own; or
          (2) on motion made by a party either before responding to the pleading or, if a
               response is not allowed, within 21 days after being served with the pleading.

    (g) Joining Motions.
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          (1) Right to Join. A motion under this rule may be joined with any other motion
              allowed by this rule.
          (2) Limitation on Further Motions. Except as provided in Rule 12(h)(2) or (3), a
              party that makes a motion under this rule must not make another motion under
              this rule raising a defense or objection that was available to the party but omitted
              from its earlier motion.

    (h) Waiving and Preserving Certain Defenses.
        (1) When Some Are Waived. A party waives any defense listed in Rule 12(b)(2)−(5)
            by:
            (A) omitting it from a motion in the circumstances described in Rule 12(g)(2); or
            (B) failing to either:
                  (i) make it by motion under this rule; or
                  (ii) include it in a responsive pleading or in an amendment allowed by Rule
                        15(a)(1) as a matter of course.
        (2) When to Raise Others. Failure to state a claim upon which relief can be granted,
            to join a person required by Rule 19(b), or to state a legal defense to a claim may
            be raised:
            (A) in any pleading allowed or ordered under Rule 7(a);
            (B) by a motion under Rule 12(c); or
            (C) at trial.
        (3) Lack of Subject−Matter Jurisdiction. If the court determines at any time that it
            lacks subject−matter jurisdiction, the court must dismiss the action.

    (i)   Hearing Before Trial.If a party so moves, any defense listed in Rule
          12(b)(1)−(7)−−whether made in a pleading or by motion−−and a motion under Rule
          12(c) must be heard and decided before trial unless the court orders a deferral until
          trial.

Rule 56. Summary Judgment

    (a) Motion for Summary Judgment or Partial Summary Judgment. A party may move
        for summary judgment, identifying each claim or defense−−or the part of each claim or
        defense−−on which summary judgment is sought. The court shall grant summary
        judgment if the movant shows that there is no genuine dispute as to any material fact
        and the movant is entitled to judgment as a matter of law. The court should state on the
        record the reasons for granting or denying the motion.

    (b) Time to File a Motion. Unless a different time is set by local rule or the court orders
        otherwise, a party may file a motion for summary judgment at any time until 30 days
        after the close of all discovery.

    (c)   Procedures.
          (1) Supporting Factual Positions. A party asserting that a fact cannot be or is
              genuinely disputed must support the assertion by:
              (A) citing to particular parts of materials in the record, including depositions,
                   documents, electronically stored information, affidavits or declarations,
                   stipulations (including those made for purposes of the motion only),
                   admissions, interrogatory answers, or other materials; or
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          (B) showing that the materials cited do not establish the absence or presence of a
                genuine dispute, or that an adverse party cannot produce admissible evidence
                to support the fact.
      (2) Objection That a Fact Is Not Supported by Admissible Evidence. A party may
          object that the material cited to support or dispute a fact cannot be presented in a
          form that would be admissible in evidence.
      (3) Materials Not Cited. The court need consider only the cited materials, but it may
          consider other materials in the record.
      (4) Affidavits or Declarations. An affidavit or declaration used to support or oppose
          a motion must be made on personal knowledge, set out facts that would be
          admissible in evidence, and show that the affiant or declarant is competent to
          testify on the matters stated.

(d) When Facts Are Unavailable to the Nonmovant. If a nonmovant shows by affidavit
    or declaration that, for specified reasons, it cannot present facts essential to justify its
    opposition, the court may:
    (1) defer considering the motion or deny it;
    (2) allow time to obtain affidavits or declarations or to take discovery; or
    (3) issue any other appropriate order.

(e)   Failing to Properly Support or Address a Fact. If a party fails to properly support an
      assertion of fact or fails to properly address another party's assertion of fact as required
      by Rule 56(c), the court may:
      (1) give an opportunity to properly support or address the fact;
      (2) consider the fact undisputed for purposes of the motion;
      (3) grant summary judgment if the motion and supporting materials−−including the
           facts considered undisputed−−show that the movant is entitled to it; or;
      (4) issue any other appropriate order.

(f)   Judgment Independent of the Motion. After giving notice and a reasonable time to
      respond, the court may:
      (1) grant summary judgment for a nonmovant;
      (2) grant the motion on grounds not raised by a party; or
      (3) consider summary judgment on its own after identifying for the parties material
           facts that may not be genuinely in dispute.

(g) Failing to Grant All the Requested Relief. If the court does not grant all the relief
    requested by the motion, it may enter an order stating any material fact−−including an
    item of damages or other relief−−that is not genuinely in dispute and treating the fact as
    established in the case.

(h) Affidavit or Declaration Submitted in Bad Faith. If satisfied that an affidavit or
    declaration under this rule is submitted in bad faith or solely for delay, the court−−after
    notice and a reasonable time to respond−−may order the submitting party to pay the
    other party the reasonable expenses, including attorney's fees, it incurred as a result. An
    offending party or attorney may also be held in contempt or subjected to other
    appropriate sanctions.
